
7 N.Y.2d 939 (1960)
In the Matter of Juana Lugo, a Person of Unsound Mind. Emilio Ciena, Respondent; State of New York, Appellant.
Court of Appeals of the State of New York.
Argued January 13, 1960.
Decided January 22, 1960.
Louis J. Lefkowitz, Attorney-General (Jerome Lefkowitz and Paxton Blair of counsel), for appellant.
Nathan L. Levine for respondent.
Concur: Chief Judge DESMOND and Judges DYE, FULD, FROESSEL, VAN VOORHIS and BURKE. Taking no part: Judge FOSTER.
Order affirmed, with costs; no opinion.
